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Fixture, Version A

A Federal Court has ordered Altrla. R.J. Re\/no|ds Tobacco. Lorlllard, and Ph…p Morrls USA to make this
statement about the health effects of smol\ing.

Smoking causes heart disease, emphysema, acute myeloid
leukemia, and cancer of the mouth, esophagus, larynx, lung,
stomach, kidney, bladder, and pancreas.

1 m dead mm n J. new

When you smoke, the nicotine actually changes
the brain - that’s why quitting is so hard.

de‘ dAltr\a F?.J Rey'riold
\J`A to make mls St't

ll '2~" furlrIsz-i~ _ .
A Fed ll Court has Or‘d?r‘ed Altr'va Ft.J. R ‘
,LOI‘\llBYd and Ph\|\pl` r‘r`\S USA to mt
ment about desvgmng sues to enhan ,
del\very of ,, ins

A|tria, R.J. Reyno|ds Tobaoco,
Lori||ard, and Philip Morris USA
intentionally designed cigarettes

to make them more addictive.

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' S?I'l? -`.'

A Fede'a\ cum n ~ » m , umd, am Pm\ip mms usA 10
l er smokmg,

Smcking also causes reduced ferti|ity, low birth
weight m newborns, and cancer of the cervix.

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Fixture, Version B

. ..,A

 

 

 

 

 

 

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Secondhand smoke kills over
38,000 Americans each year. .- . _
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' l ':, = '_` __ __1_+._1 _ ' ' ` ‘ "~W
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77 7 I77 77 ,77 E'E ;‘R{i i il h ` \‘~"~ \‘ rt \\l \t\… w ,1\‘ \t‘» »m'it~ q` \ “‘ v
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-v 7 , ,, ", , - _
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4 l w l‘ m \lm'b- nation \lllim 7\»\¢ \\Ml~\\ llq¢lt… ….{… \,…,‘r…lm .'\… y \l_mm u_i-lh n \\~…
`,, ., _ g Al| cigarettes cause cancer
SpeclalBl¢e,n¢d"'i/W/ lung disease, heart attacks, a'nd . - ~_ ',
\ premature death - lights, low tar, _ l
_ _ _ ultra lights, and natura|s. j j ' l ` ,,
Altria, Ft.J. Fteyno|ds Tobacco, itu/mm . ' ‘ , There is no safe cigarette. 1 i ‘ ..xi-er
Lori||ard, and Philip Morris USA
intentionally designed cigarettes , “ n v M
to make them more addictive. w m `H 4 n M “ ` “,“ m t " t l
\i\v wi “ ""i\l¢ .M "‘ " “° "` “ "`" _ ' j g j `
: 7 .7
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. . `* 1 smokinqaisocausesreduoea " M"""""""""" """"'"" " ` \r `i'»'~
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* “¢~ - nevmoms,anucancerotmeoervix. ' » ` ' 4 j
wm wm ~~.,,. w_"s< <)::¢‘ ~):_¢ m w~ L, umw m wm “"
~ .\n .\n. \* \,` .i. ….
_ g__ __ __ l . ,sr .ii
M"...~...,.,..m..
mmt.”;u"::'f.n:.m. a `
Smoking kills, on average, 1,200 Americans. Every day_ - . '~
7' T']F`\J.im`\'l ll
- ' ' '

 

image obtained from
Document 6273-1

Ca|cu|ation to
determine 25% of
RJRT’s covered
brands did not consider
merchandising space
used for Pyramid
(made by Liggett);
USA Go|d (made by

a sister company of
|TG Brands, but not

a covered brand); or
Natura| American Spirit
(made by an FtJFtT
sister company).

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Fixture, Version C

Exc|uded Product - - - -
‘ Cigarette companies
mmmm§'cm x _ intentionally designed cigarettes
1 ° "“°‘"“*°°'“'°” ‘ ' ` with enough nicotine to create
` and sustain addiction.

 

Smoking also causes reduced fe i ity, low birth
weight in newborns, and cancer of the cervix.

Exc|uded merchandising €--'
and promotional space,

used for Natura| American

Spirit (made by an RJRT . ..... '
sister company)

Exc|uded merchandising
and promotional space,
used for USA Go|d (made < _ _

by an |TGB sister company)

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No court-ordered
statements are
shown in this
merchandising
space, Which is
used for Eag|e
and Pyramid
cigarettes (made
by Liggett)
because they
are not covered
brands

__‘ ` .7 7 7 Li.i_iii…iijF--_-

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Fixture, featuring back-bar displays

A Federa| Court has ordered A|tria, Ft.J. Fteyno|ds Tobacco, Lori!|ard. and Philip i\/iorris
USA to make this statement about the health effects ot secondhand smoke.

 
 

Chiidren exposed to secondhand smoke are at an increased risk for
sudden infant death syndrome (SiDS), acute respiratory infections, ear
problems, severe asthma, and reduced lung function.

   

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Smoking kiiis, on average, '_‘ _- ' `:v;,h£)'t'i\\i&
1 ,200 Americans. Every day. il ;`i_\,-S g
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smoking is mgm name
amos is nn macon nw

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Smo ng also causes reduced fe
' ' low birth weight' in newborns, and
when y‘l):u a,t’s why ' . cancer of the cervix.
the rain-

 
 

  
 

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~i.'u-\-M-*~“-_ .\*- w

    

 

irregular placement of cigarettes,
not considered in 25% caicu|ation.

Ca|cu|ation to determine 25% of l'>
|TGB covered brands’ merchandising

and promotional space Within this

backbar display did not consider

merchandising and promotional space

used for i\/|ontc|air cigarettes, Which

is made by |TG Brands but not a

covered brand.

image obtained from
Document 6273-1

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Ca|cu|ation

to determine

25% of FtJFtT’s
covered brands

did not consider
merchandising and
promotional space
used for smokeless
tobacco products.

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